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                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

United States of America                         §
                                                 §
vs.                                              §     NO: AU:21-M -00555(1)
                                                 §
(1) Brannen Sage Mehaffey                        §


                         ORDER REGARDING FINANCIAL STATUS

      The defendant appeared in this Court this day and asked the Court to appoint counsel.
Because the defendant has testified under oath or otherwise satisfied the Court after appropriate
inquiry that the defendant (1) is financially unable to employ counsel and (2) does not wish to
waive counsel, and because the interests of justice so require, the Court has appointed counsel to
represent the defendant in this case.
      The defendant is advised that he may be required to reimburse the Government for the costs
of appointed counsel on completion of the case. IT IS THEREFORE ORDERED that on any
finding of guilt as to these current charges, the U.S. Probation Office is instructed to make
financial inquiries of the defendant to determine if the defendant can repay the costs of
court-appointed counsel. The U.S. Probation Office shall report its findings to the judicial officer
assigned to the case before any sentencing.

SIGNED on July 12, 2021.




                                                     ______________________________
                                                     SUSAN HIGHTOWER
                                                     UNITED STATES MAGISTRATE JUDGE
